                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT CHATTANOOGA

UNITED STATES OF AMERICA,                        )
                                                 )
                                                 )
v.                                               )           1:11-CR-14
                                                 )           Collier / Lee
                                                 )
LASHAWN BOOKER,                                  )
                                                 )
                      Defendant.                 )



                                            ORDER

       Before the Court is a pro se Motion for Disqualification or Recusal of Magistrate Judge

Order [sic] Reinstatement of Trial Counsel During the Appeal Stage of Defendant Proceeding filed

by Defendant LaShawn Booker and memorandum in support [Docs. 97 & 98], which were received

by the Court on July 10, 2013 and signed by the Defendant on July 1, 2013. Defendant’s motion

requests that the Order reinstating trial counsel Charles Dupree be terminated and that “any

proceeding completed on the behalf of the defendant be reversed.” [Doc. 97]. On January 7, 2013,

an Order and Mandate were issued by the United States Court of Appeals for the Sixth Circuit

(“Sixth Circuit”) affirming the district court’s judgement as to Defendant. As of July 15, 2013, no

petition for certiorari to the United States Supreme Court had been filed.

       The proceedings before this Court are concluded.          Defendant’s pro se Motion for

Disqualification or Recusal of Magistrate Judge Order [sic] Reinstatement of Trial Counsel During



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the Appeal Stage of Defendant Proceeding [Doc. 97] is DENIED.

      SO ORDERED:

      ENTER.


                                         s/Susan K. Lee
                                         SUSAN K. LEE
                                         UNITED STATES MAGISTRATE JUDGE




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